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                                   5                                  UNITED STATES DISTRICT COURT

                                   6                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   8    SYMANTEC CORPORATION,                             Case Nos. 17-cv-04414-JST, 17-cv-04426-
                                                                                          JST
                                                        Plaintiff,
                                   9
                                                 v.                                       SCHEDULING ORDER AND ORDER
                                  10
                                                                                          DENYING MOTION TO STAY
                                  11    ZSCALER, INC.,
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13    SYMANTEC CORPORATION,
                                                        Plaintiff,
                                  14
                                                 v.
                                  15

                                  16    ZSCALER, INC.,
                                                        Defendant.
                                  17

                                  18
                                  19            The Court hereby sets the following case deadlines for Case No. 17-cv-04426 (“Case

                                  20   One”) pursuant to Federal Rule of Civil Procedure 16 the Civil Local Rules, and the Patent Local

                                  21   Rules:

                                  22
                                  23                                      Event                                     Deadline

                                  24        Plaintiff’s deadline to comply with PLR 3-1 and 3-2
                                                                                                              September 19, 2017
                                            requirements
                                  25
                                            Defendant’s deadline to comply with PLR 3-3 and 3-4
                                  26                                                                          November 17, 2017
                                            requirements
                                  27
                                            PLR 4-1 Exchange of proposed terms                                December 1, 2017
                                  28
                                   1                                      Event                                      Deadline

                                   2        Symantec to make first election of asserted claims (no more than
                                                                                                             December 15, 2017
                                            32 claims total and no more than ten claims per patent)
                                   3
                                            PLR 4-2 Exchange of preliminary constructions and extrinsic
                                   4                                                                           December 21, 2017
                                            evidence
                                   5
                                            Deadline to amend pleadings                                        December 22, 2017
                                   6
                                            PLR 3-8 Damages contentions due                                    December 29, 2017
                                   7
                                            Zscaler to make first election of prior-art references (no more
                                   8        than 40 references total and no more than 12 references per        January 12, 2018
                                   9        patent)

                                  10        PLR 4-3 JCCS                                                       January 19, 2018

                                  11        PLR 3-9 Responsive damages contentions                             February 9, 2018
                                  12        PLR 4-4 Completion of claim construction discovery                 February 23, 2018
Northern District of California
 United States District Court




                                  13
                                            PLR 4-5(a) Plaintiff’s opening claim construction brief            March 9, 2018
                                  14
                                            PLR 4-5(b) Defendant’s responsive brief                            March 30, 2018
                                  15
                                            PLR 4-5(c) Plaintiff’s reply claim construction brief              April 10, 2018
                                  16
                                                                                                               June 5, 2018 at 1:30
                                  17        Technology tutorial
                                                                                                               p.m.
                                  18
                                                                                                               June 19, 2018 at 1:30
                                            Claim construction hearing
                                  19                                                                           p.m.

                                  20        Symantec’s deadline to reduce the number of asserted claims to
                                                                                                               28 days after claim-
                                            a maximum of sixteen claims (with no more than five claims per
                                  21                                                                           construction order
                                            patent)
                                  22
                                            Zscaler’s deadline to reduce the number of prior art references to
                                  23        no more than 20 references (with no more than six references       14 days thereafter
                                            per patent)
                                  24

                                  25
                                                The Court hereby sets the following case deadlines for Case No. 17-cv-04414 (“Case
                                  26
                                       Two”) pursuant to Federal Rule of Civil Procedure 16 the Civil Local Rules, and the Patent Local
                                  27
                                       Rules:
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                                   2                                 Event                                     Deadline

                                   3   Plaintiff’s deadline to comply with PLR 3-1 and 3-2
                                       requirements                                                       June 15, 2018
                                   4
                                       Symantec to make initial election of asserted claims (no more
                                   5                                                                      August 3, 2018
                                       than 50 claims total and no more than 12 claims per patent)
                                   6
                                       Defendant’s deadline to comply with PLR 3-3 and 3-4
                                   7   requirements                                                       August 13, 2018

                                   8   Zscaler to make initial election of asserted prior art (no more
                                       than 60 references total and no more than 14 references per        August 24, 2018
                                   9   patent)
                                  10
                                       PLR 4-1 Exchange of proposed terms                                 August 27, 2018
                                  11
                                       Symantec to make second election of asserted claims (no more
                                  12   than 32 claims total and no more than ten claims per patent)       September 10, 2018
Northern District of California
 United States District Court




                                  13   PLR 4-2 Exchange of preliminary constructions and extrinsic
                                       evidence                                                           September 17, 2018
                                  14

                                  15   Deadline to amend pleadings                                        September 18, 2018

                                  16   PLR 3-8 Damages contentions                                        September 25, 2018
                                  17   Zscaler to make second election of prior-art references (no more
                                       than 40 references total and no more than 12 references per        October 9, 2018
                                  18   patent)
                                  19
                                       PLR 4-3 JCCS                                                       October 15, 2018
                                  20
                                       PLR 3-9 Responsive damages contentions                             November 5, 2018
                                  21
                                       PLR 4-4 Completion of claim construction discovery                 November 19, 2018
                                  22
                                       PLR 4-5(a) Plaintiff’s opening claim construction brief            December 3, 2018
                                  23

                                  24   PLR 4-5(b) Defendant’s responsive brief                            December 21, 2018
                                  25   PLR 4-5(c) Plaintiff’s reply claim construction brief (agreed
                                       date)                                                              January 9, 2019
                                  26
                                                                                                          March 5, 2019 at
                                  27   Technology tutorial
                                                                                                          1:30 p.m.
                                  28
                                                                                    3
                                   1                                      Event                                         Deadline

                                   2                                                                              March 19, 2019 at
                                            Claim construction hearing
                                                                                                                  1:30 p.m.
                                   3
                                            Symantec’s deadline to reduce the number of asserted claims to
                                   4                                                                              28 days after claim
                                            a maximum of sixteen claims (with no more than five claims per
                                                                                                                  construction order
                                   5        patent)

                                   6        Zscaler’s deadline to reduce the number of prior art references to
                                            no more than 20 references (with no more than six references       14 days thereafter
                                   7        per patent)
                                   8
                                              All filing and service deadlines occur at 5:00 p.m. Pacific Time.
                                   9
                                              In each case, following claim construction the Court will conduct a case management
                                  10
                                       conference for the purpose of setting a trial date and the remaining deadlines in the case.
                                  11
                                              The motion to dismiss in Case One, ECF No. 9, will be heard on December 21, 2017 at
                                  12
Northern District of California




                                       2:00 p.m. The motion to dismiss in Case Two, ECF No. 16, will be heard on August 18, 2018 at
 United States District Court




                                  13
                                       2:00 p.m.
                                  14
                                              The motion to stay in Case Two, ECF No. 59, is denied.
                                  15
                                              Counsel may not modify these dates without leave of court. The parties shall comply with
                                  16
                                       the Court’s standing orders, which are available at cand.uscourts.gov/jstorders.
                                  17
                                              The parties shall meet and confer regarding the format, scope, and content of both the
                                  18
                                       tutorial and the claim construction hearing, including but not limited to the permissible subjects of
                                  19
                                       discussion at each, whether experts will testify, and what audio-visual equipment, if any, will be
                                  20
                                       needed by the parties. They also shall exchange copies of any audio-visual material at least ten
                                  21
                                       court days before they intend to use it in court, and shall bring any disputes regarding the format,
                                  22
                                       scope, or content of any tutorial or hearing to the Court’s attention at least five court days before
                                  23
                                       the tutorial or hearing. The Court will deem as waived any objection raised less than five court
                                  24
                                       days before the tutorial or hearing. The parties shall lodge hard copies of their presentation
                                  25
                                       materials with the Court on the day of the tutorial or claim construction hearing.
                                  26
                                              The Court will reserve no more than two-and-a-half hours on its calendar for the tutorial,
                                  27
                                       including a brief recess. The tutorial will not be reported by a court reporter. The parties are not
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                                   1   required to use the entirety of the allotted time.

                                   2          At claim construction, the Court will construe only the terms the parties identify in their

                                   3   Joint Claim Construction and Prehearing Statement as most significant to the resolution of the

                                   4   case up to a maximum of 12 (per case). See Patent Local Rule 4-3(c) (setting a maximum of ten).

                                   5   The Court will reserve no more than three hours its calendar for the claim construction hearing,

                                   6   including a brief recess. The Court prefers that the parties proceed term-by-term, with each party

                                   7   providing its views on each term before moving on to the next. The Court’s use of time limits

                                   8   means that the parties may not have the opportunity to present oral argument on every term they

                                   9   have submitted for construction, and the parties should prioritize their presentations accordingly.

                                  10          The parties must take all necessary steps to conduct discovery, compel discovery, hire

                                  11   counsel, retain experts, and manage their calendars so that they can complete discovery in a timely

                                  12   manner and appear on the noticed and scheduled dates. All counsel must arrange their calendars
Northern District of California
 United States District Court




                                  13   to accommodate these dates, or arrange to substitute or associate in counsel who can.

                                  14          Pursuant to the ruling made at the November 2, 2017 case management conference,

                                  15   Paragraph 3 of the parties’ proposed discovery order, see Case One, ECF No. 114, Exh. C, shall be

                                  16   amended to read as follows:

                                  17          Case II Documents: The parties agree that, unless specifically designated by the
                                  18          producing party as for use only in Case II (Case 3:17-cv-04414-JST), any
                                              document produced in Case II (Case 3:17-cv-04414-JST) can be used for any
                                  19          purpose in Case I, subject to the parties’ protective order in Case I. This agreement
                                              to the cross-use of documents between Case II and this action is not, and shall not
                                  20          be construed to be, an admission by any party that any document is relevant to or
                                              admissible into evidence in this action. The parties expressly reserve any and all
                                  21          evidentiary objections they may have with respect to any document produced in
                                  22          this action or in Case II. Notwithstanding any prior discovery referral by the Court
                                              to a Magistrate Judge, Judge Tigar will resolve any disputes concerning whether a
                                  23          document is appropriately “designated by the producing party as for use only in
                                              Case II.” Should such a dispute persist after the parties have worked in good faith
                                  24          to resolve it informally, the parties shall contact the Courtroom Deputy to schedule
                                              a telephonic conference with the Court.
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                                   2          The parties shall submit a revised proposed discovery order including this language for the

                                   3   Court’s signature by December 1, 2017.

                                   4          IT IS SO ORDERED.

                                   5   Dated: November 20, 2017

                                   6                                                  _______________________________________
                                                                                                     JON S. TIGAR
                                   7
                                                                                               United States District Judge
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                                  12
Northern District of California
 United States District Court




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